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                    IN THE UNITED STATES BANKRUPTCY COURT                            11/24/20 12:17 pm
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA                          CLERK
                                                                                     U.S. BANKRUPTCY
                                                                                     COURT - :'3$
  IN RE:                                            Bankruptcy No. 20-20425-GLT

  VIDEOMINING CORPORATION,                          Chapter 11

  Debtor.                                           Document No. ____

                                                                          102 113,
                                                    Related to Doc. Nos. 102, and 205
                                                                                   179, 180, 181
                                                    & 189

  THIRD STIPULATION AND CONSENT ORDER MODIFYING AND EXTENDING
 ORDERS AUTHORIZING DIP FINANCING AND USE OF CASH COLLATERAL AND
                  CANCELLING STATUS CONFERENCE

        Upon the agreement and stipulation of Enterprise Bank (“Enterprise”), White Oak Business

 Capital, Inc. (“White Oak”), the Internal Revenue Service of the United States (“IRS”), and the

 above-captioned Debtor (collectively, the “Parties”), by and through their undersigned counsel,

 to the terms and conditions set forth in this Third Stipulation and Consent Order (this

 “Third Stipulation”); and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§

 157 and 1334; and venue being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

 the Court finding that due notice and such opportunity for a hearing as is appropriate under the

 circumstances has occurred and that no further notice to any party in interest is required; and this

 matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and after due deliberation

 and good and sufficient cause appearing therefor;
       IT IS hereby STIPULATED, AGREED, and ORDERED as follows:

        1.      Pursuant to the terms of the Final Order Authorizing Use of Cash Collateral

 Through May 8, 2020 entered by the Court on March 12, 2020 (ECF No. 102) (the “Final Cash

 Collateral Order”) and the Modified Final Order Authorizing Debtor to Obtain Post-Petition

 Financing entered by the Court on March 19, 2020 (ECF No. 113) (the “Final DIP Order”) along

 with the Stipulation and Consent Order (1) Modifying and Extending Orders Authorizing DIP
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 Financing and Use of Cash Collateral and (2) Authorizing Amendment of DIP Loan Documents

 entered on August 21, 2020 (ECF No. 181) (the “First Stipulation”) and the Second Stipulation

 and Consent Order Modifying and Extending Orders Authorizing DIP Financing and Use of Cash

 Collateral entered on September 25, 2020 (ECF No. 189) (the “Second Stipulation” and together

 with the Final Cash Collateral Order, the Final DIP Order and the First Stipulation, the “Orders”),

 the Debtor was to have received at least one (1) initial bid (in whatever and the same form received,

 e.g., letter of intent or expression of interest, proposed purchase agreement, term sheet, etc.)

 containing the Acceptable Sale Conditions on or before October 31, 2020.

         2.     Additionally, per the Orders, the Debtor was authorized to use cash collateral in

 accordance with the budget attached as Exhibit A to the Second Stipulation through November 6,

 2020.

         3.     In recognition that an initial bid containing the Acceptable Sale Conditions was not

 received by October 31, 2020, and instead of the Debtor immediately commencing and conducting

 an auction process as set forth above, the Parties have agreed to further modify and extend the

 Orders under the terms and conditions set forth in this Third Stipulation.

         4.     The Parties have agreed to the following revisions to the Orders: The Debtor:

                (a)     Shall engage ICAP Patent Brokerage LLC or such other patent

                        broker acceptable to Enterprise and White Oak (the “Broker”), upon

                        terms and conditions acceptable to Enterprise and White Oak, no

                        later than November 30, 2020;

                (b)     Hereby authorizes and directs Christopher Bossi to be in charge of

                        the sale process, to be the primary contact with the Broker, to consult

                        with Enterprise and White Oak on all matters relating to the sale
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                        process, and Enterprise and White Oak shall have direct access to

                        the Broker;

                (c)     Shall receive at least one (1) initial bid (in whatever form received,

                        e.g., letter of intent or expression of interest, proposed purchase

                        agreement, term sheet, etc.) containing the Acceptable Sale

                        Conditions on or before February 28, 2021;

                (d)     Shall have entered into a binding asset purchase agreement

                        providing for the Acceptable Sale Conditions and filed a motion

                        seeking approval of such sale on or before March 31, 2021; and

                (e)     Shall have consummated a sale meeting the Acceptable Sale

                        Conditions on or before April 30, 2021.


 In the event the Debtor fails to comply with any of the requirements set forth in subsections (a)

 through (e) above, the Debtor shall immediately commence and conduct an auction process for its

 patent assets which auction shall occur on or before May 31, 2021 (or such later date as the Debtor,

 White Oak and Enterprise shall agree on or before May 1, 2021), with a reputable broker who

 regularly conducts auctions of assets similar to the Debtor’s patents and is acceptable to White

 Oak and Enterprise.

        5.      Notwithstanding anything herein to the contrary, the Debtor, Enterprise, White Oak

 and the IRS agree the final decision of whether to accept an offer which meets all of the Acceptable

 Sale Conditions shall be determined by the Debtor in the exercise of its fiduciary duties and

 business judgment, subject to the approval of the Court, but White Oak, the IRS and Enterprise

 reserve their right to object to any such sale. The rights, defenses and objections of all Parties are
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 specifically preserved in full with respect to the proposed buyer, the value of the Debtor’s assets,

 the approval of a sale process and auction process, and all terms and conditions of the same.

        6.      In the event that the Debtor receives a bid that does not meet the Acceptable Sale

 Conditions but still has the support of Enterprise, White Oak, and the IRS and the Debtor chooses

 not to accept the bid (a “Supported Non-Conforming Bid”), the Debtor agrees to the appointment

 of an examiner on an expedited basis which examiner shall evaluate the Supported Non-

 Conforming Bid and shall provide an opinion as to whether the Supported Non-Conforming Bid

 should be accepted (the “Examiner’s Opinion”). The Parties shall use best efforts to agree on the

 proposed Examiner. However, in the event that all Parties cannot agree on a proposed Examiner

 within three (3) business day after concluding that there is a Supported Non-Conforming Bid, the

 Debtor, in its expedited motion to appoint an Examiner, shall ask the Court to appoint someone in

 its discretion. The Debtor agrees to adopt and implement the Examiner’s Opinion. The Examiner

 shall provide the Examiner’s Opinion to Enterprise, White Oak, the IRS and the Debtor no later

 than 20 days after his or her appointment. In the event that the Examiner’s report is not received

 within 20 days after his or her appointment, any Party shall be authorized to file an expedited

 motion to remove the Examiner and to compel the Debtor to commence an auction. In the event

 the Examiner’s fees and costs exceed $10,000, any Party shall be authorized to file an expedited

 motion to remove the Examiner and to compel the Debtor to commence an auction, provided

 however, that if any of the non-moving parties agree to absorb the Examiner’s fees and costs in

 excess of $10,000, the moving Party shall withdraw its motion.

        7.      The Debtor is hereby authorized to use cash collateral from November 6, 2020

 through January 15, 2021, consistent with the Orders and the budget attached hereto as Exhibit A,

 which budget has been agreed to by Enterprise, White Oak, and IRS.
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        8.      As of the entry of this Third Stipulation, neither White Oak nor Enterprise have

 terminated the Debtor’s authority to use Cash Collateral under the Orders or the Debtor’s right to

 request and receive, and Enterprise’s discretion and right to make, advances under the DIP Loan

 Documents. Notwithstanding the chapter 7 filing by Rajeev and Vishnu Sharma, the guarantors

 of the DIP Loans, on October 5, 2020, the Parties agree that an Event of Default or a Maturity Date

 has not occurred because the bankruptcy and insolvency provisions of the DIP Loan Documents

 were stricken by the prior Orders, or if such filing did constitute an Event of Default or cause a

 Maturity Date it is hereby waived, but all of the rights and remedies of Enterprise Bank and White

 Oak with respect to any future Event of Default are hereby reserved and preserved.

        9.      Except as expressly modified hereby, all terms and conditions of the Orders remain

 in full force and effect. Capitalized terms not otherwise defined in this Third Stipulation shall have

 the meanings ascribed to such terms in the Orders.

        10.     Except as expressly provided in this Third Stipulation, nothing herein waives,

 prejudices, or otherwise affects the rights and remedies of the Parties, whether under the

 Bankruptcy Code, applicable non-bankruptcy law, the Orders, the DIP Loan Documents, at law

 or in equity, or otherwise, and all such rights and remedies are hereby reserved.


         11.      The Status Conference scheduled for December 3, 2020 [Dkt.No.203] is

 CANCELLED.


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  CONSENTED AND AGREED TO:                       CONSENTED AND AGREED TO:


  /s/ Ryan J. Cooney______________________       /s/ Thomas D. Maxson__________________
  Ryan J. Cooney                                 William E. Kelleher, Jr.
  (PA ID No. 319213)                             (PA ID No. 30747)
  223 Fourth Avenue, 4th Fl.                     Thomas D. Maxson
  Pittsburgh, PA 15222                           (PA ID No. 63207)
  Phone: (412) 392-0330                          Daniel P. Branagan
  Fax: (412) 392-0335                            (PA ID No. 324607)
  rcooney@lampllaw.com
                                                 DENTONS COHEN & GRIGSBY P.C.
  Dated: November 23, 2020                       625 Liberty Avenue
                                                 Pittsburgh, PA 15222-3152
  Counsel for Debtor,                            Phone: (412) 297-4900
  VIDEOMINING CORPORATION                        Fax: (412) 209-0672
                                                 bill.kelleher@dentons.com
                                                 thomas.maxson@dentons.com
                                                 daniel.branagan@dentons.com

                                                 Dated: November 23, 2020

                                                 Counsel for ENTERPRISE BANK


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  CONSENTED AND AGREED TO:                       CONSENTED AND AGREED TO:

  /s/ Jill L. Locnikar______________________     /s/ Jeffrey M. Rosenthal__________________
  Jill L. Locnikar                               Jeffrey M. Rosenthal
  Assistant U.S. Attorney                        MANDELBAUM SALSBURG P.C.
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  700 Grant Street, Suite 4000
  Pittsburgh, PA 15219                 George T. Snyder
  (412) 894-7429 (phone)               PA ID No. 53525
  (412) 644-6995 (fax)                 Stonecipher Law Firm
  jill.locnikar@usdoj.gov              125 1st Avenue
                                       Pittsburgh, PA 15222
  Dated: November 23, 2020             (412) 391-8510 (phone)
                                       (412) 391-8522 (fax)
  Counsel for INTERNAL REVENUE SERVICE gsnyder@stonecipherlaw.com
  OF THE UNITED STATES
                                       Dated: November 23, 2020

                                                 Counsel for WHITE       OAK     BUSINESS
                                                 CAPITAL, INC.




 SO ORDERED:

  Dated: _________________
           November 24     ___, 2020             ____
                                                 _____________________________________
                                                   ______
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                                                                    d niio
                                                 United States
                                                         States Bankruptcy Judge
